Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.1   Page 1 of 34




                                                             11-cv-14652
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.2   Page 2 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.3   Page 3 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.4   Page 4 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.5   Page 5 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.6   Page 6 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.7   Page 7 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.8   Page 8 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.9   Page 9 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.10   Page 10 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.11   Page 11 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.12   Page 12 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.13   Page 13 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.14   Page 14 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.15   Page 15 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.16   Page 16 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.17   Page 17 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.18   Page 18 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.19   Page 19 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.20   Page 20 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.21   Page 21 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.22   Page 22 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.23   Page 23 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.24   Page 24 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.25   Page 25 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.26   Page 26 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.27   Page 27 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.28   Page 28 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.29   Page 29 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.30   Page 30 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.31   Page 31 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.32   Page 32 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.33   Page 33 of 34
Case 1:11-cv-14652-TLL-CEB ECF No. 1 filed 10/21/11   PageID.34   Page 34 of 34
